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IN THE UNITED STATES COURT OF APPEALS!" ELERK’S
FOR THE FIRST DISTRICT nt sfP -3.
THICCC BOY PRODUCTIONS, INC, Case No. 24-1207 ys cout oF PDEA
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Plaintiff-Appellant,
Vv.
KYLE SWINDELLES, DEFENDANT-APPELLEE
KYLE SWINDELLES’
Defendant-Appellee. : MOTION TO DISMISS

Now comes Defendant-Appellee Kyle Swindelles, pro se, and hereby moves this
Court for dismissal of the above-captioned case due to lack of prosecution by Plaintiff-
Appellant Thiccc Boy Productions, Inc. This motion is made in response to recent public
revelations that Thiccc Boy Productions, Inc., has not consented to an appeal of the lower
court’s ruling, has not had communications with its legal counsel on this matter, has
stopped its payment of legal fees and costs for this case, and may have been defrauded by

its current counsel and a former employee in the initiation of this action in the lower court.

I. Thicce Boy Productions, Inc.. was fraudulently entered into this action under
false pretenses and is not actively involved in the litigation.

Business records filed with the California Secretary of State show that podcaster
and former comedian Brendan P. Schaub is the principal officer of Thiccc Boy
Productions, Inc. In fact, Schaub is the only officer of Thicce Boy, named as the Chief
Executive Officer, Secretary, and Chief Financial Officer in its most recent September 19,
2023, filing. Exhibit A. For all intents and purposes, Brendan Schaub is Thicce Boy, and
is solely responsible for all business decisions of the entity. Schaub sells “Thiccc Boy”

merchandise and bills himself as “the Thiccc Boy himself” in promotional materials.
Thiccc Boy publicly addressed the current ongoing litigation against Kyle
Swindelles on its “The Fighter and the Kid” podcast released on June 14, 2024, During a
segment where Schaub sobbed and shouted through answers to questions purportedly
submitted by fans of the show, he explained the genesis of the current litigation that has
dragged on for over two years. As Thicce Boy said:

The lawsuit thing...I'm sure it's a question. The lawsuit thing, a guy who's no
longer with me, a business guy, comes to me, goes “Hey man, there's this
guy on YouTube.” Again, I, and I, hand to God, I've never seen any of it, I
don't see any of it. I know there's some bad stuff.!

Thiccc Boy’s sole officer is admitting that he never viewed any of Swindelles’
videos that are the basis of the lawsuit, and was only aware of them because a
former “business guy” brought it to his attention. He further stated:

So this guy who works for me, right, doing this stuff, business manager,
goes, “Hey man, I got a call from this lawyer, I've known him a long time,
that there's this guy on YouTube. He's making thousands of videos, you
know, badmouthing you and using your content, blah blah.” I go, “T don't
care, dude. There’s like a million of them what are you going to do?” He
goes, “Ah, it’s bad, man, he said you hit your kids,” and I was like, “Okay,
like I don't give a sh*t, dude, none of it's true.” That goes away. Next week,
comes back, same thing, “Dude, I'm telling you I really think we should do
something.” You know, and they know how to pull at my heartstrings. He
goes, “You know he has a... a... a... rap sheet where, you know, he beat his
son. It's on video on there.” I'm like, “Whoa! All right, do what you got to
do.”

Robert E. Allen is the Los Angeles attorney who has led this litigation on behalf of
Thicce Boy from the beginning. According to Thiccc Boy’s account, Kyle Swindelles
and his YouTube channel were not on their radar until Allen called Schaub’s business

manager and solicited them to initiate litigation. At first, Thicce Boy declined to take

action.

h https://youtu.be/eEvARgu0sk4?si=TBUErge1 Tym6ssep at 2:30:34.
2 bttps://youtu.be/cEVAR gu0sk4?si=TBUErge! Tyméssep at 2:31:01.

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Thicce Boy initiated the lawsuit only after the unnamed business manager told
Thicce Boy two unequivocally false statements: (1) that Swindelles said Schaub hits his
kids, and (2) that Swindelles has a “rap sheet where he beat his son.” These two
statements are absolutely untrue, yet formed the basis for Thicce Boy filing this action. In
that respect, Thiccec Boy was defrauded by its former business manager and entered into
this action under false pretenses. This is also evidence that Thicec Boy has never had an
interest in litigating its copyright interests in the four videos in question.

Thiccc Boy further explained the misrepresentations made by the business
manager and attorney at the start of the litigation:

And I was told.. ready?... I was told “this is easy, it’ll take three months.”

It's still going on. That was three years ago, it's still going on. But here's what

people don't realize is...so they told me three months, and I don't know if

they were in cahoots together just getting money out of me or whatever. I

don't... I, I couldn't... if the guy walked in here right now as a guest I couldn't

point him out. I don't know who it is. T have no... wasn't dealing with him.

“Yeah, do your thing.”?
Here, Thicce Boy bluntly speculates that the business manager and Robert E. Allen were
possibly scheming to defraud him of money. Schaub appears to state that he knows
nothing about Robert E. Allen or possibly the business manager and would not recognize
him if he were in the same room. This shows that Thiecc Boy was neither involved nor

informed in the litigation at any point, even now before this Court of Appeals.

Il. Thicee Boy Productions, Inc., did not consent to this appeal and does not
receive any communications regarding this case.

As Thicce Boy has publicly stated, this lawsuit began only after Robert E, Allen
solicited the company for litigation and a former business manager convinced the CEO to

assent based upon false statements. The business manager was fully delegated with

* https://youtu.be/eEvARgu0sk4?si=TBUErge] Tym6ssep at 2:31:41.
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power over the lawsuit, yet is no longer with the company. As a result, Thiccc Boy now
has nothing to do with the lawsuit. As Thicce Boy explained:

T couldn't tell you what's going on with it. I don't... I couldn't tell you when

it's going to end. I know nothing about it. I don't associate with them

anymore. I...1 couldn't tell you. 1 could not tell you. But my point is, all of

that, you're talking, I have the wrong people around me. Again, I take

accountability cuz that..that’s... that's all I...I have to give these people jobs. I

have the wrong people around me that I hired, horrible people, right? I have

this business guy that should...had no business managing any of my sh*t.

Bad information. And I'm at..I'm at a time where where I'm not steering the

ship and it's not good.*
So Thicce Boy has ended its association with the former business manager who was
handling this case, and knows nothing about the litigation. Thicce Boy is not receiving
updates from its legal counsel. This raises an important question regarding that previous
delegation of authority: if the employee who was controlling the litigation is now gone
and Thiccc Boy knows nothing about the lawsuit and has no interest in it, who is making
the decisions? Thicce Boy makes it sound like the former business manager is still
handling the case without authority. As far as decision-making authority, Thicec Boy
stated:

Your boy's back. I've been back about a year now. I run everything.

Everything you see is me. Everything you see now is my decision.5
Obviously, this is confusing. The original lawsuit was filed in February 2022 and this
appeal was filed in March 2024. Schaub wrested decision-making authority of Thiccc
Boy’s operations away from the former business manager a year ago (presumably in

2023) and has no knowledge or interest in the current litigation. This indicates that

Thicce Boy never gave consent for this appeal to be filed and moved forward.

4 https://youtu.be/eEvARgu0sk4?si=TBUErge!1 Tyméssep at 2:32:33,
% https://youtu.be/eEvARgu0sk4?si=TBUErgel Tyméssep at 2:33:17.

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It appears that throughout the pendancy of the litigation, Robert E. Allen has not
given Thicce Boy updates or explanations as to what is happening with the case. Thicce
Boy CEO Schaub publicly spoke multiple times about the lawsuit in the last two years
but seemed to have no idea that it was actually a copyright infringement case. In fact, he
continually called it a “defamation of character” case, supporting his assertion that he has
not been properly informed by his counsel. Thiccc Boy first publicly discussed this
lawsuit on the May 16, 2022, episode (titled “Cain Velazquez Denied Bail Twice’) of the
audiovisual podcast “The Schaub Show.” While discussing a contemporary event of an
MMaA analyst accused of drug use, Schaub said:

Yeah, that’s the thing with like, y’know, defamation of character
stuff like that. Even like the narrative on me, which I don’t talk
about with, y’know, I have a lawsuit against this YouTuber who’s a
small-time YouTuber. If you don’t know the background, you’re
like, ‘oh, it’s this guy who’s big in the space suing this smaller guy.’
No, no, I don’t give a f**k. If you wanna criticize my fight picks or
my stand-up, my podcasts, that’s what, I’m a public figure. T signed
up for that. That stuff does not bother me. But when you start
slandering my name, stealing content, and creating this false
narrative of cheating on my wife and doing all this crazy sh*t and
defamatory stuff, and using content and the click-bait stuff like that,
for years. Well then, we’re not playing the same game, man. Then I
have to do something. If you made an entire career off defamation, I
have to do something.®

Schaub further explained:

If you wanna say, ‘oh, he has the sh*ttiest fight picks, or he’s bad at
English, or, y’know, I didn’t like his stand-up, I think Louis CK is
better.’ Well, no sh*t, dude. That’s all good. But then when you start
going down that dark road, man. You start going down, y’know,
these, these click-baity things that are defamation of character, for
years, years, years, years, hundreds of videos. For years? Well, now
you got my attention. That’s where this goes.”””

§ https://youtu.be/dvJ-iVOt7iY at 0:43:58.
7 https://youtu.be/dvJ-iVOt7iY at 0:45:40.
Almost nineteen months later, a YouTube page called “Hot Breath! Comedy Network”
posted an interview with Schaub on December 12, 2023. The interviewer asks Schaub
how he handles negativity online, which led to this exchange:

INTERVIEWER: Have you done anything to try to like, um, suppress or get
on top of it?...... Can you sue people? Have you tried doing any of that?

SCHAUB: No, I mean, we got, we have, we have a lawsuit with a guy who
made like 3,000 videos. Again, if you’re gonna critique stand up or my fight
picks or whatever, my football picks, all good. That’s what the internet’s for.
Now if you’re gonna go out there and, uh, defamation....like, you know,
whatever, ‘Brendan hits his kids or beats his wife,’ well then you got my
attention. I’mma come after you. That game I don’t play. And the guy’s
suffering from that, so, that is whatever.*
Robert E. Allen declined to explain why his supposed client was so uninformed about the
litigation when the question was raised in lower court filings. These statements bolster
Thicce Boy’s allegation that it was defrauded, has not been apprised of the progress of
the lawsuit, and has no interest in moving it forward. Thicce Boy has clearly not given
informed consent for its counsel to move forward with this copyright infringement appeal.
In fact, the appeal filings indicate that something odd is going on with this case.
Thicce Boy Productions, Inc., is a Colorado corporation based in California with a
principal office address in Calabasas, CA. Yet this appeal was filed under a mailing
address in Florida that has no official affiliation to Thicce Boy Productions, Inc. or its
legal counsel, and appears to simply be a single-family house in a residential
development. All available evidence suggests that Thiccc Boy has no knowledge of this

appeal, no interest in pursuing it, and the action is being controlled by someone outside

the organization without the consent of the company’s CEO, Secretary, and CFO.

® https://www.youtube.com/watch?v=IwlJAjTEaé, at 27:29.
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Ill. Thicce Boy Productions, Inc., has stopped paying legal fees and costs related
to this action.

Because Thicce Boy has indicated that it was misled in this litigation and has no
interest in pursuing it, an obvious inquiry is who is paying for all of this expensive legal
work. According to Thiccc Boy, they paid the initial costs in 2022, but are no longer
paying for this years-long action:

At the time, the initial cost, good amount of money. But again, at the time,

whatever, your boy’s balling, you know. So at the time I’m like “Yeah, do

what you got to do.” Well, thank God, and people don't realize this and even

if he's doing, like, dragging it out, from... it's pro bono. I don't pay any more.

So what... so, whatever issue they have with it, I couldn't tell you what's

going on with it.?
Clearly, Schaub is misusing the term pro bono, as an attorney at a top LA law firm would
not switch a rich celebrity’s case to a pro bono cause. Thicce Boy’s speculation that this
lawsuit may only be a legal cash grab by its attomey reinforces that the term was used in
error, But nonetheless, this case has dragged on for over twenty-eight months and Thicce
Boy is claiming that it did not pay for the appeal and its voluminous brief filed by its elite
legal team. The Thicce Bay legal team sought approximately $13,000 in damages in the
lower court, so a contingency or no-cure/no-pay agreement does not make financial sense.
This raises more questions about who is controlling this litigation and whether
improprieties are afoot. Regardless, all evidence points to the conclusion that Thicce Boy
Productions, Inc., is not a willing and active participant in this lawsuit.

CONCLUSION
Plaintiff-Appellant Thicce Boy Productions, Inc., has levied serious allegations

against its former business manager and its current legal representation. This Court must

* https://youtu.be/eEvARgu0sk4?si=TBUErae1 Tym6ssep at 2:32:14.
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proceed with care and receive written, notarized verification of Thicce Boy’s sole
officer’s informed consent to this appeal before it can move forward. If such evidence is
not provided, the only reasonable option is to dismiss the appeal and forward the matter

to the appropriate entities to investigate possible professional and/or criminal misconduct.

Respectfully submitted,

K

Kyle Swindelles, Defendant, pro se
41 Marietta Street, 2" Floor, Unit 4
Providence, Rhode Island 02904
Phone: (401) 230-5061

e-mail: yewneekent@gmail.com

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CERTIFICATE OF SERVICE

This is to certify that on the same date of mailing of this document to the Court, I
transmitted the foregoing Defendant-Appellee’s Motion to Dismiss to the below interested
party via regular USPS mail at the listed address:

Robert E. Allen, Esq.

Glaser Weil Fink Howard Jordan & Shapiro
10250 Constellation Blvd. #19

Los Angeles, CA 90067
K uf e Swindeles
EXHIBIT A
NN 0 0 0.0 0 0

STATE OF CALIFORNIA ae Ofe Loy
Office of the Secretary of State

STATEMENT OF INFORMATION -FILED-
CORPORATION

California Secretary of State File Na: BA20231474239
1500 11th Steet Date Filed: 9/19/2023
Sacramento, California 95814

(916) 653-3516

Entity Details
Corporation Name THICCC BOY PRODUCTIONS INC.
Entity No. 4114303
Formed In COLORADO

Street Address of Principal Office of Corporation

Principal Address 26635 AGOURA RD SUITE 101
CALABASA, CA 91302

Mailing Address of Corporation

Mailing Address 26635 AGOURA RD SUITE 101
CALABASA, CA 91302

Attention

Street Address of California Office of Corporation

Street Address of California Office 26635 AGOURA RD SUITE 101
CALABASA, CA 91302

Officers

Officer Name Officer Address Position(s)

fl BRENDAN SCHAUB | 26635 AGOURA RD SUITE 101 Chief Executive Officer, Secretary, Chief Financial Officer
CALABASA, CA 91302

Additional Officers

Officer Name Officer Address Position Stated Position

None Entered

ajeqg jo Azejazoeg etuzogtTTeo Aq peaTeveyd Wd 9€:°9 £202/6T/60 S6Lp-921¢c8

Agent for Service of Process
Agent Name Jack Vuona

Agent Address 26635 AGOURA RD SUITE 101
CALABASA, CA 91302

Type of Business
Type of Business ENTERTAINMENT

Email Notifications
Opt-in Email Notifications Yes, | opt-in to receive entity notifications via email.

Labor Judgment
No Officer or Director of this Corporation has an outstanding final judgment issued by the Division of Labor
Standards Enforcement or a court of law, for which no appeal therefrom is pending, for the violation of any wage
order or provision of the Labor Code.

Electronic Signature

Bd &y signing, | affirm that the information herein is true and correct and that | am authorized by California law to sign.

Erika Easter 09/19/2023
Signature Date

Page 1 of 1
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Office of the Clerk IN CLERK'S OFFIC
U.S. Court of Appeals for the First Circuit nan ere .
John Joseph Moakley Courthouse 7024 SEP -3 P b&b
1 Courthouse Way, Suite 2500 ne
Boston, MA 02210 US COURT OF APPEALS

FOR THE FIRST CIRCUIT

Re:  Thicce Boy Productions, Inc. v. Kyle Swindelles
Case No. 24-1207

Dear Clerk of Court:

Please accept for filing the enclosed Motion to Dismiss on behalf of Defendant-
Appellee Kyle Swindelles in the above-captioned case. I have enclosed four (4)
copies and made service on the opposing party, per the Court’s rules. Please let me
know if you need anything else from me. Thank you for your time and assistance.

Respectfully submitted,

Ky e Swindelles

Kyle Swindelles, Defendant, pro se
41 Marietta Street, 2"! Floor, Unit 4
Providence, Rhode Island 02904
e-mail: yewneekent@gmail.com
2nd Floor, Unit 4

fice of the Clerk

'S. Ct of Appeals for the First Circuit
John Joseph Moakley Courthouse
4 Courthouse Way, Suite 2500
Boston, MA 02210

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